This is an action at law, brought to recover on two trade acceptances made and executed by the defendant in favor of Canadian Asbestos Products Company, and by it transferred to this plaintiff. One of these instruments reads as follows:
                           "Trade Acceptance.
"No. ____.            Denver, Colo., Dec. 14, 1926.
"To Guy H. Johnson (Name of Drawee)
    "739 Main St., Pendleton, Ore. (Address of Drawee)
  "On May 1, 1927, pay to the order of Canadian (Date of Maturity)
Asbestos Products Co., Five Hundred Nine and 37/100 Dollars ($509.37).
"The obligation of the acceptor hereof arises out of the purchase of goods from the drawer. The drawee may accept this bill payable at any bank, banker or trust company in the United States which he may designate. Interest 10 per cent. from maturity.
  "Accepted at Pendleton, Ore., on Dec. 14, 1926. (City)                (Date)
  "Payable at Inland Empire Bank, (Name of bank)
"Location, Pendleton, Ore.
                                "GUY H. JOHNSON. (Signature of Acceptor)
              "CANADIAN ASBESTOS PRODUCTS Co., "BY B.H. CORBETT." *Page 649 
The other, bearing the same date, made and executed by the same party, is for the sum of $254.69, payable March 1, 1927.
The history of the case is substantially as follows:
On November 15, 1926, defendant Johnson ordered from the Canadian Asbestos Products Company, a Colorado corporation, a quantity of roofing and insulator, upon the following terms and conditions:
"All orders f.o.b. Denver, Colorado, and are not subject to countermand.
"There are no conditions other than those mentioned in this contract, and any change, to be binding by (on) the company, must be in writing on the original order. * *
"The company does not ship goods on consignment.
"The purchaser has read this order, and agrees to purchase and accept the above-mentioned merchandise, and to abide by all conditions contained herein."
The terms of purchase read:
"The amount of this order is $1,031.25, payable in ten days from date of shipment, less 3 per cent. discount.
"Purchaser has the option of remitting in three equal payments, as follows: 1, 2, and 3 months from January 1, 1926 (1927), provided settlements are made by Trade Acceptance upon arrival of merchandise at destination."
Defendant chose to remit in three payments, as evidenced by three certain trade acceptances. After the goods had been ordered and received by him, however, he refused to sign and deliver the trade acceptances. A few days later, Corbett, the salesman for the Canadian Asbestos Products Company, appeared at Pendleton and inquired with reference to the execution of the instruments by defendant. Thereupon, a change was agreed upon with respect *Page 650 
to the date of payments, the three original acceptances were destroyed and an equal number executed in lieu thereof, two of which form the subject matter of this litigation. On the same day, the third was discounted by a loan company at Pendleton under the direction of this defendant.
Defendant asserts that, in order to obtain the execution and delivery of the trade acceptances, the salesman made certain false representations to him to the effect that he, the salesman, would personally sell for defendant a sufficient quantity of the goods to meet the payments evidenced by these instruments, and that, in pursuance thereof, the salesman wrote upon defendant's letter-head a penciled memorandum which reads:
"Pendleton, Or., Nov. 15, 1926.
"Mr. Guy H. Johnson:
"The writer will personally sell for you before March 1, 1927, an amount of roofing and insulator amounting to as much as $1,031.25, or will extend time of your payments until such time as that amount is sold.
                     "Yours truly, "B.H. CORBETT."
The letter-head was then delivered to defendant, who asserts that, relying upon the representations and promise set out in the memorandum, he executed and delivered the trade acceptances involved. This writing was offered and admitted into the record over the objection of the plaintiff. From a verdict for defendant the plaintiff appeals, and assigns as error the admission of certain evidence and rejection of other evidence and the refusal of the court to direct a verdict for plaintiff.
REVERSED AND REMANDED. REHEARING DENIED. *Page 651 
In 1914, the plaintiff corporation was organized under the laws of the State of Colorado, and since that date has been engaged in the business of manufacturing paint and roofing products and marketing the same in the territory designated as the Rocky Mountain region. In 1926, the corporation known as the Canadian Asbestos Products Company was organized under the laws of Colorado, with B.H. Corbett, the salesman hereinbefore referred to, as president and chief executive officer, and established offices at 3551 Blake Street, Denver, the place of business of the plaintiff corporation, under an arrangement with the plaintiff whereby the newly organized company was furnished desk room for its secretary. All orders were handled through this office. At the time of the defendant's purchase of the roofing product from the Canadian Company one W.J. Galligan, secretary and manager of the plaintiff corporation, whose duty it was to pass upon all applications for credit, and to inspect all sales of merchandise, approved the trade acceptances in question. Touching upon the business connections of the two corporations, and the situation tending to show a common enterprise between *Page 652 
the two, is the following excerpt from the testimony of the manager of the plaintiff corporation:
"The Canadian Asbestos Company arranged with the Elastic Paint and Manufacturing Company to manufacture a product for them and supply the trade that they were selling."
Moreover, the record shows that the plaintiff possessed a copy of the formula for making this identical roofing product, and engaged in the manufacture of that product for the Canadian Company.
The defendant asserts that the roofing product shipped by the Canadian Company was worthless, and that he received no consideration for the trade acceptances, and that the plaintiff had knowledge thereof. His contention as to the quality of the merchandise is sustained by the testimony of two painters, who testified, in effect, that the product supplied was so inferior that, when applied in accordance with the seller's directions, it possessed no value. If the product was without value when received by Johnson, the trade acceptances were not given for a valuable consideration. As to the third contention, there are circumstances of record that constitute some evidence tending to show that the plaintiff had knowledge of the quality of the asbestos product for which the trade acceptances were given: See 20 R.C.L., § 7, "Notice." Under the record, the court properly denied plaintiff's motion for a directed verdict.
The plaintiff invokes the application of the rule which provides that actual fraud consists of a false representation in regard to some past or existing fact, by which a party is induced to enter into a contract or part with his property. As a general rule, false promises are not fraudulent nor evidence of *Page 653 
fraud, and only false representations of past or existing facts are actionable or can be made the ground of defense. However, when a promise is made with no intention of performance, and for the express purpose of perpetrating a fraud, it is a most apt and effectual means to that end, and the victim has a remedy by action or defense. As sustaining the general rule, see Haney v.Parkison, 72 Or. 249 (143 P. 926, Ann. Cas. 1916D, 1035);Black v. Irvin, 76 Or. 561 (149 P. 540). For cases illustrating the exception to this rule, see Jennings v.Jennings, 48 Or. 69 (85 P. 65); Marshall v. HillsboroGarden Tracts, 78 Or. 89 (152 P. 493); Dolph v. Lennon's,Inc., 109 Or. 336 (220 P. 161).
In 12 R.C.L., at page 257, it is written:
"So, if through inducements held out by one person, even by means of a promise alone, another is influenced to change his position so that he cannot be placed in statu quo, and will be seriously damaged unless the promise is fulfilled, then the refusal to perform is fraud. There is even authority to the effect that false representations as to future events will constitute fraud, where those events depend upon the acts of the party making the representations and form the inducement whereby the other party is led into the transaction."
Fraud is never presumed. The presumption is always in favor of innocence. But, while fraud must be proved, it may be established by circumstances from which no reasonable inference but that of fraud can be drawn: Wimer v. Smith, 22 Or. 469
(30 P. 416). The court properly submitted the case to the jury, with elaborate instructions relating to the application of the Negotiable Instruments Law, and neither party made any objection to such instructions. *Page 654 
The plaintiff likewise complains that its cause was prejudiced by the holding of the court that a certain writing made and signed personally by Corbett, the salesman for Canadian Asbestos Products Company, was admissible. This writing, set out above, is in direct conflict with the express terms of the defendant's written order for goods. The writing contains no language purporting to be an agreement, contract, or promise of the company that sold the merchandise, but, on the contrary, it purports to be the promise of Corbett alone. The defendant freely and voluntarily signed and forwarded to the Canadian Asbestos Products Company of Denver the order for merchandise. The merchandise was shipped to, and received by, the defendant at Pendleton, he paying the freight thereon and storing the goods in a warehouse, all of which was in compliance with the terms of the order. Later the defendant paid for the merchandise by executing three trade acceptances and delivering them to Corbett, the company's salesman. The contract was complete: Loveland v.Warner, 103 Or. 638 (204 P. 622, 206 P. 298). The order for merchandise and the written instruments forming the basis of this action are in clear, concise and unambiguous language, and convey their own meaning. They require no extraneous circumstance to interpret their meaning or to aid in their construction: Or. L., § 713; 22 C.J., § 1590. Corbett's promise is neither a part of the order nor of the trade acceptances. The writing adduced in evidence was a personal promise, made personally by him, and it is not competent to vary the terms of a written contract between this defendant and the Canadian Asbestos Products Company. The ruling of the court in the matter of the admission *Page 655 
of this writing constituted a substantial error. It follows that this case must be reversed and remanded.
REVERSED AND REMANDED. REHEARING DENIED.
RAND, C.J., and BEAN and BELT, JJ., concur.